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                                                                 oO<
                                             JRT
             IN THE UNITED STATES DISTRICT COURT                          ^
                  THE SOUTHERN DISTRICT OF GEOR
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA,


V.                                             Case No.   CR417-242


JADONTE GADSDEN,
                  Defendant.




UNITED STATES OF AMERICA,


V.                                             Case No.   CR417-263


DENNIS GRUBBS,
                  Defendant.




                                 ORDER


      Tina M. Hesse, counsel of record for defendants in the above-

styled cases, has moved for leave of absence.        The Court is mindful

that personal and professional obligations require the absence of

counsel on occasion. The Court, however, cannot accommodate its

schedule to the thousands of attorneys who practice within the

Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.
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 SO ORDERED this -Q(       day of May 2018.




                              HONORABLE WILLIAM/T< MOORE, JR.
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
